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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS
                               EAST ST. LOUIS DIVISION

 DEBRA SIMMONS, as Special                     )
 Administratrix of the Estate of               )
 BERNARD SIMMONS,                              )
                                               )
                Plaintiff,                     )
                                               )
        -vs-                                   )        No. 16-294-SMY-PMF
                                               )
 WARDEN KIM BUTLER,                            )
 UNKNOWN ILLINOIS DEPARTMENT                   )
 OF CORRECTIONS OFFICERS,                      )
                                               )
                Defendants.                    )

         DEFENDANT BUTLER’S ANSWER AND AFFIRMATIVE DEFENSE TO
                 PLAINTIFF’S FIRST AMENDED COMPLAINT

        The Defendant, KIM BUTLER, by and through her attorney, Lisa Madigan, Attorney

 General for the State of Illinois, provides the following answer and affirmative defense directed

 to Plaintiff’s first amended complaint [d/e 18]:


                                       Nature of this Action

        1.      On or about November 19, 2014, David Sesson (“Sesson”) and Bernard Simmons

 (“Simmons”) were placed in the same cell in segregation at Menard Correctional Center. At that

 time Defendants knew that Sesson posed an unreasonable risk of harm to any inmate with whom

 he was celled. Hours later, Sesson brutally attacked and strangled Simmons to death.

        Answer: Defendant admits that David Sesson and Bernard Simmons shared a cell in
        segregation at Menard Correctional Center in November 2014. Defendant admits that
        Sesson strangled and killed Simmons. Defendant denies the remaining allegations
        contained in paragraph 1.




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         2.      This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation

 under color of law of Bernard Simmons’ rights as secured by the United States Constitution.

         Answer: Defendant admits that the action was filed pursuant to 42 U.S.C. § 1983;
         however, Defendant denies that she violated the rights of Bernard Simmons and denies
         she is liable for any of the claims in this action.

                                        Jurisdiction and Venue

         3.      This Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331, 1343(a),

 and 1367(a).

         Answer: Defendant admits that this Court has jurisdiction of this action.

         4.      Venue is proper under 28 U.S.C. § 1391(b) because the events giving rise to

 Plaintiff’s claims occurred in this judicial district.

         Answer: Defendant admits that venue is proper in this judicial district.

                                                 Parties

         5.      Plaintiff Debra Simmons (“Ms. Simmons”) is the Special Administrator of the

 Estate of Bernard Simmons. She is a resident of the State of Illinois.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegations contained in paragraph 5.

         6.      Defendant Kim Butler (“Defendant Butler”) was at all times relevant to this

 litigation employed by the Illinois Department of Corrections (“IDOC”) as the warden at Menard

 Correctional Center.

         Answer: Defendant admits that she is employed by IDOC as the Warden at Menard
         Correctional Center and held that position in November 2014.




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           7.     Defendant Betsy Spiller (“Defendant Spiller”) was at all times relevant to this

 litigation employed by the IDOC as a correctional officer at Menard Correctional Center.

           Answer: Defendant admits that Betsy Spiller was employed by IDOC at Menard
           Correctional Center during times relevant to this suit. Defendant denies Spiller was a
           correctional officer at Menard Correctional Center.

           8.     Defendant Rebecca Creason (“Defendant Creason”) was at all times relevant to

 this litigation employed by the IDOC as a psychologist at Menard Correctional Center.

           Answer: Defendant admits that Rebecca Creason was employed by IDOC as a
           psychologist at Menard Correctional Center during times relevant to this suit.

           9.     Defendant Joshua Schoenbeck (“Defendant Schoenbeck”) was at all times

 relevant to this litigation employed by the IDOC as a correctional officer at Menard Correctional

 Center.

           Answer: Defendant admits that Joshua Schoenbeck was employed by IDOC as a
           correctional lieutenant at Menard Correctional Center during times relevant to this suit.

           10.    Defendant Roger Pelker (“Defendant Pelker”) was at all times relevant to this

 litigation employed by the IDOC as a correctional officer at Menard Correctional Center.

           Answer: Defendant admits that Roger Pelker was employed by IDOC as a correctional
           sergeant at Menard Correctional Center during times relevant to this suit.

           11.    Defendant Anna Ewert (“Defendant Ewert”) was at all times relevant to this

 litigation employed by the IDOC as a correctional officer at Menard Correctional Center.

           Answer: Defendant admits that Anna Ewert was employed by IDOC as a placement
           officer at Menard Correctional Center during times relevant to this suit.

           12.    Defendant Christopher McClure (“Defendant McClure”) was at all times relevant

 to this litigation employed by the IDOC as a correctional officer at Menard Correctional Center.

           Answer: Defendant admits that Christopher McClure was employed by IDOC as a
           correctional officer at Menard Correctional Center during times relevant to this suit.




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        13.     Defendant Frank Eovaldi (“Defendant Eovaldi”) was at all times relevant to this

 litigation employed by the IDOC as a correctional officer at Menard Correctional Center.

        Answer: Defendant admits that Frank Eovaldi was employed by IDOC as a correctional
        lieutenant at Menard Correctional Center during times relevant to this suit.

        14.     Defendant Kevin Murray (“Defendant Murray”) was at all times relevant to this

 litigation employed by the IDOC as a correctional officer at Menard Correctional Center.

        Answer: Defendant admits that Kevin Murry was employed by IDOC as a correctional
        sergeant at Menard Correctional Center during times relevant to this suit.

        15.     Defendants Unknown Illinois Department of Corrections Officers were at all

 times relevant to this litigation employed by the IDOC as correctional officers at Menard

 Correctional Center.

        Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
        truth of the allegations contained in paragraph 15.

        16.     All of the individually named defendants are sued in their individual capacity.

        Answer: Defendant admits that she may be sued in her individual capacity, but denies
        any liability.

        17.     All of the individually named defendants were at all times relevant to this

 litigation acting within the course and scope of their employment and under color of State law.

        Answer: Defendant admits that she acted within the course and scope of her employment
        and under the color of State law while performing her job duties. Defendant lacks
        knowledge or information sufficient to form a belief as to the remaining Defendants.

                                        Factual Allegations

        18.     Sesson was admitted to Menard Correctional Center in December of 2004, having

 been sentenced to life in prison for murder.

        Answer: Defendant admits that David Sesson was admitted to IDOC custody in
        December 2004 after being sentenced to natural life in prison pursuant to a murder
        conviction. Defendant admits that Sesson was placed in Menard Correctional Center in
        late December 2004.



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        19.     Sesson had a history of violent, homicidal, and suicidal behavior in the IDOC.

        Answer: Defendant lacks knowledge or information sufficient to form a belief as to
        Sesson’s entire IDOC or mental health history.

        20.     On information and belief, Sesson also had a history of mental health issues and

 was treated with psychotropic medication.

        Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
        truth of the allegations contained in paragraph 20.

        21.     On January 14, 2006, Sesson attempted to hang himself in his cell.

        Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
        truth of the allegations contained in paragraph 21.

        22.     On October 22, 2006, Sesson assaulted another inmate in the dining room.

        Answer: Defendant admits that Sesson’s IDOC records show that he was disciplined for
        fighting another inmate in the dining room on October 22, 2006. Defendant lacks
        knowledge or information sufficient to form a belief as to the circumstances of the fight.

        23.     On February 1, 2007, correctional officers discovered dangerous contraband in

 Sesson’s cell, including a 2 inch piece of metal and an altered nail clipper.

        Answer: Defendant admits that Sesson’s IDOC records show that he was disciplined for
        having a straightened metal spring and an altered nail clipper on February 1, 2007.

        24.     On October 2, 2007, Sesson attacked his cellmate and was subsequently placed in

 segregation.

        Answer: Defendant admits that Sesson’s IDOC records show that he was disciplined for
        fighting on October 2, 2007, and that the discipline included three months segregation.
        Defendant lacks knowledge or information sufficient to form a belief as to the
        circumstances of the fight.

        25.     On August 25, 2009, Sesson attacked his cellmate and was subsequently placed in

 segregation.

        Answer: Defendant admits that Sesson’s IDOC records show that he was disciplined for
        fighting on August 25, 2009, and that the discipline included three months segregation.




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        Defendant lacks knowledge or information sufficient to form a belief as to the
        circumstances of the fight.

        26.     On October 13, 2011, Sesson attacked another inmate and was subsequently

 placed in segregation.

        Answer: Defendant admits that Sesson’s IDOC records show that he was disciplined for
        fighting on October 13, 2011, and that the discipline included one month of segregation.
        Defendant lacks knowledge or information sufficient to form a belief as to the
        circumstances of the fight.

        27.     On March 15, 2012, Sesson attacked his cellmate. Sesson pinned his cellmate to

 the floor and repeatedly struck him in the head with a closed fist. Sesson did not comply with

 orders from responding correctional officers to stop the assault.

        Answer: Defendant admits that Sesson’s IDOC records show that he was disciplined for
        fighting and the assault of inmate Reynolds on March 15, 2012. Defendant also admits
        that IDOC records show Sesson was disciplined for disobeying a direct order. Defendant
        lacks knowledge or information sufficient to form a belief as to the circumstances of the
        incident.

        28.     Sesson was subsequently placed in segregation. Due to his history of assaultive

 behavior and mental health issues, he was denied approval for double celling while in

 segregation.

        Answer: Defendant admits that Sesson was denied approval for double-celling in
        segregation on March 20, 2012; but Defendant lacks knowledge or information sufficient
        to form a belief as to the rationale.

        29.     On October 7, 2012, after being released back into general population, Sesson

 attacked his cellmate and was subsequently placed in segregation. Again, due to his history of

 assaultive behavior, Sesson was denied approval for double celling while in segregation.

        Answer: Defendant admits that Sesson’s IDOC records show he was disciplined for
        assaulting inmate Curry and for fighting on October 7, 2012, and the discipline included
        one month of segregation. Defendant lacks knowledge or information sufficient to form
        a belief as to the circumstances of the altercation. Defendant admits that Sesson was
        denied approval for double-celling in segregation on October 15, 2012; but Defendant
        lacks knowledge or information sufficient to form a belief as to the rationale.



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         30.      On March 20, 2012, Sesson attacked his cellmate and was subsequently placed in

 segregation. Again, due to his history of assaultive behavior, Sesson was denied approval for

 double celling while in segregation.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to a
         fight on March 20, 2012. Defendant admits that Sesson’s IDOC records show he was
         disciplined for fighting his cellmate on March 20, 2013, and the discipline included one
         month of segregation. Defendant lacks knowledge or information sufficient to form a
         belief as to the circumstances of the altercation. Defendant admits that Sesson was
         denied approval for double-celling in segregation on March 21, 2013; but Defendant
         lacks knowledge or information sufficient to form a belief as to the rationale.

         31.     On November 7, 2014, Sesson attacked his cellmate by wrapping a television cord

 around his neck and strangling him.

         Answer: Defendant admits that Sesson’s IDOC records show he was disciplined for
         assaulting inmate Goings by attempting to strangle him with a television cord on
         November 7, 2014. Defendant lacks knowledge or information sufficient to form a belief
         as to the circumstances of the incident.

         32.     The inmate that Sesson strangled did not initially report the incident because he

 feared for his life.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegations contained in paragraph 32.

         33.     On or about November 11, 2014, Defendant Schoenbeck learned from

 confidential sources that Sesson had strangled his cellmate. Defendant Schoenbeck also learned

 from these sources that the cellmate did not fight back, and that Sesson only stopped because an

 individual walked by his cell and told him to “knock it off.”

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegations contained in paragraph 33.




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        34.     Disciplinary proceedings were initiated against Sesson, and he was once again

 placed in segregation.

        Answer: Defendant admits that disciplinary proceedings were initiated against Sesson
        and he was placed in segregation in November 2014.

        35.     Defendants Butler, Spiller, Creason, Schoenbeck, Pelker, and Ewert knew about

 Sesson’s violent history, including the fact that he had repeatedly attacked cellmates.

        Answer: Defendant denies the allegations contained in paragraph 35.

        36.     Defendants Butler, Spiller, Creason, Schoenbeck, Pelker, and Ewert knew that

 Sesson had strangled his cellmate with a television cord on November 7, 2014.

        Answer: Defendant denies the allegations contained in paragraph 36.

        37.     Despite this knowledge, on November 18, 2014, Defendant Spiller recommended

 that Sesson be double celled while in segregation.

        Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
        truth of the allegations contained in paragraph 37.

        38.     Despite this knowledge, on November 19, 2014, Defendants Creason, and

 Schoenbeck recommended that Sesson be double celled while in segregation.

        Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
        truth of the allegations contained in paragraph 38.

        39.     Despite this knowledge, on November 19, 2014, Defendant Butler approved

 Sesson to be double celled while in segregation.

        Answer: Defendant denies the allegations contained in paragraph 39.

        40.     Despite this knowledge, on November 19, 2014, Defendant Pelker “screened”

 Sesson and Simmons, and determined that they were “compatible” for double celling.

        Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
        truth of the allegations contained in paragraph 40.




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         41.    Despite this knowledge, on November 19, 2014, Defendant Ewert approved of

 Sesson and Simmons being placed in the same cell.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegations contained in paragraph 41.

         42.    Sesson and Simmons were therefore placed in the same cell on November 19,

 2014.

         Answer: Defendant admits that records show Sesson was placed into cell 638 with
         Simmons on November 19, 2014. Defendant lacks knowledge or information sufficient
         to form a belief as to the circumstances of that placement.

         43.    On November 19, 2014, Simmons weighed approximately 150 pounds.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegations contained in paragraph 43.

         44.    On November 19, 2014, Sesson weighed approximately 280 pounds.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegations contained in paragraph 44.

         45.    Through the process of screening Sesson’s “compatibility” to be celled with

 Simmons, Defendants Pelker and Ewert knew that Sesson was much larger than Simmons.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegations contained in paragraph 45.

         46.    Defendants Pelker and Ewert therefore knew that in the event Sesson attacked

 Simmons that Simmons would not be able to adequately defend himself.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegations contained in paragraph 46.

         47.    Throughout his incarceration, Sesson reported to the IDOC correctional staff that

 he hated having cellmates and wanted to be in a cell by himself.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegation contained in paragraph 47.




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         48.     From the date Sesson was placed in segregation to when he was placed in a cell

  with Simmons, he informed Defendant Unknown Correctional Officers that he would fight the

  next inmate with whom he was celled.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegations contained in paragraph 48.

         49.     On November 19, 2014, Sesson informed Defendants McClure, Eovaldi, and

  Murray that he would harm his cellmate if he was not moved.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegations contained in paragraph 49.

         50.     Defendants McClure, Eovaldi, and Murray ignored Sesson, and did nothing to

  separate Simmons from Sesson.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegations contained in paragraph 50.

         51.     On November 19, 2014, Sesson murdered Simmons by strangling him with a

  clothes line and then with a shoe lace.

         Answer: Upon information and belief, Defendant admits that Sesson admitted to
         murdering Simmons by attempting to strangle him with a clothesline and then strangling
         him with a boot string.

         52.     Sesson reported the murder by telling Defendant McClure, “My cellie is dead. I

  killed him after your 9 p.m. tour.”

         Answer: Defendant admits that Sesson reported the murder to McClure. Defendant lacks
         knowledge or information sufficient to form a belief as to the truth of the remaining
         allegations contained in paragraph 52.

         53.     Sesson subsequently pled guilty to murdering Simmons, and was sentenced to an

  additional 40-year sentence in the Illinois Department of Corrections.

         Answer: Defendant admits that Sesson pleaded guilty to murdering Simmons in
         Randolph County, Illinois, and was sentenced to a 40-year sentence to run consecutive to
         his prior sentence.



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                                             COUNT I
                                         42 U.S.C. § 1983
                        8th Amendment – Cruel and Unusual Punishment
                              (All Individually Named Defendants)

         54.     Each of the foregoing paragraphs is incorporated as if fully restated herein.

         Answer: Defendant incorporates and re-states her prior answers to the allegations of the
         complaint.

         55.     As described more fully above, Defendants Butler, Spiller, Creason, Schoenbeck,

  Pelker, and Ewert caused Sesson to be placed in a cell with Simmons.

         Answer: Defendant denies the allegations contained in paragraph 55.

         56.     As described more fully above, Defendants McClure, Eovaldi, Murray, and

  Unknown Correctional Officers failed to separate Sesson from Simmons after Sesson made

  direct threats of harm against his next cellmate and/or Simmons.

         Answer: Defendant lacks knowledge or information sufficient to form a belief as to the
         truth of the allegations contained in paragraph 56.

         57.     As described more fully above, Defendants Butler, Spiller, Creason, Schoenbeck,

  Pelker, Ewert, McClure, Eovaldi, Murray, and Unknown Correctional Officers knew that Sesson

  posed a substantial risk to Simmons’ life and safety.

         Answer: Defendant denies the allegations contained in paragraph 57.

         58.     As described more fully above, Defendants Butler, Spiller, Creason, Schoenbeck,

  Pelker, Ewert, McClure, Eovaldi, Murray, and Unknown Correctional Officers created a

  substantial risk of serious harm to Simmons by placing and/or keeping him in a cell with Sesson.

         Answer: Defendant denies the allegations contained in paragraph 58.

         59.     As described more fully above, Defendants Butler, Spiller, Creason, Schoenbeck,

  Pelker, Ewert, McClure, Eovaldi, Murray, and Unknown Correctional Officers failed to protect




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  Simmons from a substantial risk of serious harm by placing and/or keeping him in a cell with

  Sesson.

         Answer: Defendant denies the allegations contained in paragraph 59.

         60.     The misconduct described in this Count was intentional and committed with

  deliberate indifference to Bernard Simmons’ constitutional rights.

         Answer: Defendant denies the allegations contained in paragraph 60.

         61.     The misconduct described in this Count constitutes cruel and unusual punishment

  in violation of the Eighth Amendment to the United States Constitution.

         Answer: Defendant denies the allegations contained in paragraph 61.

         62.     As a direct and proximate result of Defendants’ violation of Bernard Simmons

  constitutional rights, Bernard Simmons endured pain and suffering, mental anguish, and death.

         Answer: Defendant denies the allegations contained in paragraph 62.



                              Response to Plaintiff’s Prayer for Relief

         Defendant denies that Plaintiff is entitled to an award of compensatory damages, punitive

  damages, attorneys’ fees, pre-judgment interest, post-judgment interest, or any other relief.


                                         Affirmative Defense


         Qualified Immunity

         At all times relevant to Plaintiffs’ claims, the Defendant acted in good faith in the

  performance of her official duties without violating clearly established constitutional rights.

  Defendant is protected from liability by the doctrine of qualified immunity.




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                                              Jury Demand

           Defendant demands trial by jury.



           WHEREFORE, Defendant respectfully requests that this Court enter judgment in her

  favor.


                                                Respectfully submitted,

                                                KIM BUTLER,

                                                       Defendant,

                                                LISA MADIGAN, Attorney General,
  Lisa Cook, #6298233                           State of Illinois,
  Assistant Attorney General
  500 South Second Street                              Attorney for Defendant,
  Springfield, Illinois 62706
  (217) 785-4555                                BY: s/ Lisa Cook
  Email: lcook@atg.state.il.us                      Lisa Cook
                                                    Assistant Attorney General
  Of Counsel.




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                EAST ST. LOUIS DIVISION

  DEBRA SIMMONS, as Special                      )
  Administratrix of the Estate of                )
  BERNARD SIMMONS,                               )
                                                 )
                 Plaintiff,                      )
                                                 )
         -vs-                                    )        No. 16-294-SMY-PMF
                                                 )
  WARDEN KIM BUTLER,                             )
  UNKNOWN ILLINOIS DEPARTMENT                    )
  OF CORRECTIONS OFFICERS,                       )
                                                 )
                 Defendants.                     )

                                    CERTIFICATE OF SERVICE

         I hereby certify that on June 7, 2016, I electronically filed the foregoing DEFENDANT
  BUTLER’S ANSWER AND AFFIRMATIVE DEFENSE TO PLAINTIFF’S FIRST AMENDED
  COMPLAINT with the Clerk of Court using the CM/ECF system which will send notification of
  such filing to the following:
                 Douglas H. Johnson              attorneys@zellnerlawoffices.com
                 Kathleen T. Zellner             Kathleen.zellner@gmail.com

  and I hereby certify that on June 7, 2016, I mailed by United States Postal Service, the document
  to the following non-registered participant:
                                                 NONE

                                                          s/ Lisa Cook_________________________
                                                          LISA COOK
                                                          Assistant Attorney General
  Lisa Cook, #6298233
  Assistant Attorney General
  General Law Bureau
  Office of the Attorney General
  500 South Second Street
  Springfield, Illinois 62706
  (217) 782-9094 Phone
  (217) 524-5091 Fax
  lcook@atg.state.il.us



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